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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 Percy, et al.,
                               Plaintiffs,             DECLARATION OF
                                                        JAMES KERNAN
                  -against-
 Oriska General Contracting, et al.,                     20-cv-6131 (NGG)
                                                      20-cv-6291 (NGG) (SJB)
                               Defendants.            21-cv-1366 (NGG) (SJB)
 Hodge, et al.,                                          21-cv-1421 (NGG)
                                                     21-cv-1999 (NGG) (RLM)
                               Plaintiffs,            21-cv-2006 (NGG) (SJB)
                  -against-                           21-cv-2009 (NGG) (SJB)
                                                      21-cv-2010 (NGG) (SJB)
 All American School Bus Corp., et al.,               21-cv-2021 (NGG) (SJB)
                               Defendants.           21-cv-2022 (NGG) (ARL)
                                                      21-cv-2024 (NGG) (SJB)
 Oriska Corporation,                                  21-cv-2025 (NGG) (SJB)
                               Plaintiff,             21-cv-2029 (NGG) (SJB)
                                                     21-cv-2030 (NGG) (AYS)
                  -against-                           21-cv-2031 (NGG) (SJB)
 Hodge, et al.,                                       21-cv-2034 (NGG) (SJB)
                                                      21-cv-2035 (NGG) (SJB)
                               Defendants.           21-cv-2039 (NGG) (RML)
 Oriska Corporation,                                  21-cv-2040 (NGG) (SJB)
                                                     21-cv-2045 (NGG) (VMS)
                               Plaintiff,             21-cv-2050 (NGG) (SJB)
                  -against-                           21-cv-2175 (NGG) (SJB)
                                                      21-cv-2182 (NGG) (SJB)
 Willoughby Rehabilitation and                        21-cv-2194 (NGG) (SJB)
 Health Care Center, LLC, et al.,                     21-cv-2198 (NGG) (SJB)
                               Defendants.            21-cv-2283 (NGG) (SJB)
                                                      21-cv-2311 (NGG) (SJB)
 Oriska Corporation,                                 21-cv-2313 (NGG) (RLM)
                               Plaintiff,             21-cv-2314 (NGG) (SJB)
                  -against-
 Bayview Manor LLC, South Point
 Plaza, et al.,
                               Defendants.




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                                            .
 Oriska Corporation,
                               Plaintiff,
                -against-
 Nassau Operating Co., LLC, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Garden Care Center, Inc., et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Park Avenue Operating Co. LLC, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Parkview Care & Rehabilitation
 Center, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Pinegrove Manor II, LLC,
 Grace Plaza, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Townhouse Operating Co., LLC-


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 Townhouse Center for Nursing, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Woodmere Rehabilitation and
 HealthCare Center, Inc., et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Brookhaven Rehabilitation and
 HealthCare Center, LLC, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 Little Neck Care Center, LLC, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 New Surfside Nursing Home, LLC-
 Caring Family Nursing & Rehab, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                -against-
 West Lawrence Care Center, LLC, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,



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                  -against-

 Avalon Gardens Rehabilitation &
 HealthCare Center, LLC, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                  -against-
 Golden Gate Rehabilitation and
 HealthCare Center LLC, et al.,
                               Defendants.
 Oriska Corporation,
                               Plaintiff,
                  -against-

 North Sea Associates, LLC-
 The HamptonsCenter, et al.,
                               Defendants.
 Percy, et al.,
                               Plaintiff,
                  -against-
 Children’s Law Center, et al.,
                               Defendants.
 Percy, et al.,
                               Plaintiff,
                  -against-
 D & D Metal Work Inc., et al.,
                               Defendants.
 Percy, et al.,
                               Plaintiff,
                  -against-
 F & E Maintenance Inc, et al.,
                               Defendants.



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 __________________________________
 Percy, et al.,
                                Plaintiff,
                  -against-
 I Grace Co, et al.,
                                Defendants.
 Percy, et al.,
                                Plaintiff,
                  -against-
 U & I Mechanical Corporation, et al.,
                                Defendants.
 Percy, et al.,
                                Plaintiff,
                  -against-
 Manhattan Telecommunications
 Corporation, et al.,
                                Defendants.
 Percy, et al.,
                                Plaintiff,
                  -against-
 S & E Azrlliant PC, et al.,
                                Defendants.
 Percy, et al.,
                                Plaintiff,
                  -against-
 P & H Painting Inc., et al.,
                                Defendants.
 Bay Park Center for Nursing &
 Rehabilitation, et al.,
                                Plaintiffs,
                  -against-
 Bent Philipson, Avi Philipson, and


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 Deborah Philipson,
                               Defendants;
 Oriska Corporation,
                Plaintiff-in-Intervention,
                -against-
 Bay Park Center for Nursing &
 Rehabilitation, et al.,
                Defendants-in-Intervention;
 Donna Hodge, Annette Hall, Karen Grant
 Williams, and Alexi Arias,
        Class Defendants-in-Intervention;
 Bent Philipson, Avi Philipson, and
 Deborah Philipson,
   Lead Action Defendants-in-Intervention;
 Aaron Becher, et al.,
        Owner Operator Defendants-in-
                            Intervention;
 The Philipson Family Trust, et al.,
   Prohibited Transaction Defendants-in-
                             Intervention;
 Andrew Cuomo, et al.,
        State Officer Defendants-in-
                       Intervention;
 Oriska Insurance Company,
                Carrier Defendant-in-
                Intervention;
 Rashbi Management, Inc.,
        Trust Defendants-in-
               Intervention.




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                     DECLARATION OF JAMES KERNAN IN RESPONSE TO
                    THIS COURT’S MAY 27, 2021 ORDER TO SHOW CAUSE

               Pursuant to 28 U.S.C. Section 1746, I hereby declare as follows:

        A.     INTRODUCTION.

        1.     I am an attorney duly admitted to practice before this Court.

        2.     The factual statements made in this Declaration are based upon my personal

 knowledge and information and belief, the sources of which are my involvement in the cases and

 my review of various documents.

        3.     I make this Declaration in response to this Court’s May 27, 2021 Order, which

 directed me to show cause as to why I should not be referred to this Court’s Disciplinary

 Committee in connection with my conduct in the above-captioned matters.

        4.     In its May 27th Order (at pp. 23-26), this Court made the following statements about

 me:

               a.     “The apparently baseless identification of defendants
                      suggests that there is no genuine connection between the
                      allegations in the complaints and the thousands of
                      defendants identified in the case captions. Without a
                      legitimate foundation for naming such an extensive list of
                      defendants, Kernan’s conduct appears to rise to the level of
                      harassment against them,” and “has imposed a substantial
                      and unnecessary burden on the court’s administrative
                      procedures, its staff, and its filing system.” Id. at pp. 23-24.

               b.     I am “attempting to represent parties involved in litigation
                      related to the business of insurance for the benefit of Oriska
                      in both the Removed and Federal Actions” in violation of the
                      terms of my “felony conviction and the orders of both the
                      Northern District of New York and the NYSDFS.” Id. at 24.

               c.     “The Class Defendants did not have an objectively
                      reasonable basis for removal of the Nassau County Action.”
                      Id. at 26.

               d.     “The Class Defendants’ failure to comply with the rule of
                      unanimity is evidence that their removal attempts of all


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                         eighteen Removed Actions were objectively unreasonable.”
                         Id.

                 e.      My “attempts on behalf of the Class Representatives to
                         remove these actions were objectively unreasonable.” Id.

                 f.      “[T]he apparent coordination and potential misconduct of
                         counsel indicate that removal of all eighteen Removed
                         Actions to this court, rather than to the proper venue in the
                         Northern District of New York, was objectively
                         unreasonable.” Id.

         5.      I address each of the Court’s statements and related issues below.

         C.      THE ISSUES RAISED BY THE COURT.

                 1.      MY GOOD FAITH IDENTIFICATION OF THE DEFENDANTS.

         6.      This Court stated that I had “filed eleven nearly-identical actions in this district

 against at least 8,773 defendants”; “[t]he apparently baseless identification of defendants suggests

 that there is no genuine connection between the allegations in the complaints and the thousands of

 defendants identified in the case captions. Without a legitimate foundation for naming such an

 extensive list of defendants, [my] conduct appears to rise to the level of harassment against them,”

 and “has imposed a substantial and unnecessary burden on the court’s administrative procedures,

 its staff, and its filing system.” Id. at pp. 23-24.

         7.      As discussed below, I respectfully submit that I had a legitimate foundation for

 naming the defendants in question. Moreover, it was never my intent to impose an unnecessary

 burden on the court’s administrative staff and filing system. In fact, I made every effort not to

 burden the Court’s staff and filing system and worked closely with Court personnel on filing the

 pleadings in question in order to minimize any possible burden.

         8.      In particular, this Court stated that:

                 “The court’s ECF filing system caps the number of defendants that
                 may be listed per ECF entry, and in an apparent attempt to evade
                 those limits, Kernan has filed hundreds, if not thousands, of ECF


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                entries, each listing a subset of the defendants. (See, e.g., Percy v.
                Oriska Corp. Gen. Contracting, 20-cv-6131 (Dkt. Nos. 28-58, 60-
                62, 64-66, 68, 70-86, 88- 89, 92-93, 97-128, 135-146). None of the
                complaints explains the individual significance of any of these
                named defendants or discusses how or why they were identified.”
                (May 27, 2021 Order, p. 12)

        9.      With respect to the Percy case cited by the Court, it is my position that the 8,773

 defendants were properly identified as potential defendant class members. The defendants in

 question in the Percy case are businesses which employ persons in occupations which are

 apprenticeable. On behalf of my plaintiff clients, my firm used analytics services to identify

 individuals who had occupations that could benefit from skilled training. 1 We then sent letters

 advising those individuals of their statutory opportunities and persuading them to adopt the

 alternative employment practices with hyperlinks demonstrating an alternative employment

 practice.

        10.     The statute (42 U.S.C. 2000e-2[k][1][A][ii]) provides that “An unlawful

 employment practice based on disparate impact is established under this subchapter only if … the

 complaining party makes the demonstration described in subparagraph (C) with respect to an

 alternative employment practice and the respondent refuses to adopt such alternative employment

 practice.” Subparagraph (C) provides that “[t]he demonstration referred to by subparagraph (A)(ii)

 shall be in accordance with the law as it existed on June 4, 1989, with respect to the concept of

 ‘alternative employment practice’.”

        11.     I reasonably believed that, because my firm had sent the letters with demonstration

 described above to the Percy defendants (which made a “demonstration” within the meaning of 42



        1
          I understand that some of the companies were incorrectly named as defendants (including
 several law firms), and I apologize for these errors. Although no excuse, these administrative
 errors resulted from the large volume of information which we were making our best efforts to
 process, and were not intentional.


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  USC 2000e-2), I would be able to meet the burden of persuasion of the Plaintiff Class as defined

  at 42 U.S.C. Section 2000d. The members of the class defendants in question “refuse[d] to adopt”

  the alternative employment practice. The 1991 amendment to the Civil Rights Act of 1964 (42

  U.S.C. §§2000e et al, commonly referred to as PL Title VII of the Civil Rights Act of 1964 as

  amended in 1991) sets forth a methodology whereby the Plaintiff Class as the Complaining Party

  can demonstrate to Respondents an Alternative Employment Practice to address the disparate

  impact of the lack of skills caused by inadequate training of persons in the Plaintiff Class so as to

  have equal employment opportunity by possessing the necessary skills to compete for jobs.

         12.     I believed that the Class Plaintiffs, as the Complaining Party under 42 U.S.C. §

  2000e–2(k)(1)(A)(ii), made the requisite demonstration to the Respondent [as described in

  subparagraph (C) as required by 42 U.S.C. § 2000e–2 (k)(1)(A)(ii)], and that the Respondents

  failed to implement training, thereby causing unfair employment practices and disparate impact.

  The Alternative Employment Practice and its demonstration, referenced subparagraph (A)(ii), is

  in accordance with the law as it existed on June 4, 1989 as required by 42 U.S.C. § 2000e–

  2(k)(1)(C), being the National Apprenticeship Act of 1937, section 1 (29 U.S.C. 50).

         13.     Respondents refused to adopt the Alternative Employment Practice and therefore,

  under 42 U.S.C. § 2000e–2(k)(1)(A)(ii), I believed that I was entitled to bring this action to obtain

  relief for the Complaining Party Plaintiff Class. Accordingly, I believed that I had a meritorious

  federal cause of action of disparate impact on the plaintiff class as an illegal employment practice.

         14.     I initially filed a single case in this District under Docket No. Case No. 1:20-cv-

  06131-CLP. I had attached a single PDF listing all of the potential class defendants but was

  directed by the Court to add each individual defendant to the docket so that they could receive

  notice. We encountered issues adding the various parties because of the ECF timeouts, etc.




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          15.     Eventually, because of the technical issues with adding parties (the system would

  not permit us to add parties past a certain amount), I filed multiple additional actions so that all of

  the parties could be identified and noticed. Again, there was absolutely no intent on my part to

  unnecessarily burden the Court, and I offer my apologies for any inconvenience this has caused.

  My intention was to comply with the directives of the Court’s Operations Manager in filing the

  various pleadings to accommodate the Multi-District Litigation Panel.

                  2.      MY REPRESENTATION OF THE EMPLOYEE BENEFICIARY
                          CLASS WAS NOT IMPROPER.

          16.     This Court’s Order to Show Cause stated that I attempted “to represent parties

  involved in litigation related to the business of insurance for the benefit of Oriska in both the

  Removed and Federal Actions” in violation of the terms of my “felony conviction and the orders

  of both the Northern District of New York and the NYSDFS.” Id. at 24.

          17.     I respectfully submit that my representation of the class of employees did not

  violate the terms of my felony conviction.

          18.     Oriska Insurance Company was represented in these various matters by Hitzke &

  Ferran, LLP. I did not represent Oriska Insurance Company.

          19.     I understand that, pursuant to the Violent Crime Control and Law Enforcement Act

  of 1994, 18 U.S.C. § 1033(e) (the “Act”), I am prohibited from engaging in the “business of

  insurance” unless I obtain written consent from an insurance regulatory official.

          20.     The term “business of insurance” is defined by 18 U.S.C. Section 1033(f) in

  relevant part as “the writing of insurance” or “the reinsuring of risks” by an “insurer.” An “insurer”

  is defined as in relevant part as “any entity the business activity of which is the writing of insurance

  or the reinsuring of risks.”




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         21.      I did not believe that I had engaged in conduct prohibited by this statute, and I was

  not working as an “insurer” but only as an attorney. Moreover, my representation of the Class

  Representatives of the class of employee beneficiaries, did not involve me engaging in the business

  of insurance.

         22.      I respectfully submit that my position is supported by an Opinion from the Office

  of General Counsel. Specifically, in Opinion No. 08-04-30 (Apr. 23, 2008), Office of General

  Counsel (“OGC”) for the New York State Insurance Department explained that a person with a

  disqualifying felony conviction may be employed by an unaffiliated law firm that is retained by

  an insurer to defend its insureds in third-party lawsuits:

                  “The term ‘business of insurance,’ as defined in 18 U.S.C. §
                  1033(f)(1), includes the writing of insurance or the reinsuring of
                  risks, and all acts necessary or incidental to such writing or
                  reinsuring, which activities affect interstate commerce. The term
                  also includes the activities of persons ‘who act as, or are, officers,
                  directors, agents, or employees of insurers or other persons
                  authorized to act on behalf’ of the insurer. Thus, an in-house
                  counsel for an insurer engages in the “business of insurance” by
                  virtue of the attorney’s status as an employee. Accordingly, to hold
                  such a position, the inquirer would have to obtain the requisite
                  waiver.

                  Employment as an attorney at an unaffiliated law firm that is
                  retained by an insurer to defend its insureds in third-party lawsuits,
                  however, is a different matter. The attorney is the employee of the
                  law firm and not, absent other circumstances, a director, officer or
                  employee of the insurer. See Opinion of General Counsel No. 02-
                  07-24 (July 24, 2002) (opining that an employee of a company that
                  provides credit information to insurers for underwriting purposes is
                  not an employee of an insurer). Nor does the position typically
                  involve the writing of insurance or reinsurance of risks, or acts that
                  are necessary or incidental to such writing or reinsuring. See
                  Opinion of Office of General Counsel No. 05-05-16 (May 10, 2005)
                  (opining that a 1033 waiver is required for an adjuster’s license).

                  Further, although the attorney represents the insured in litigation, it
                  is the Department’s view that such representation does not constitute
                  acting as an agent of an insurer or otherwise as a person authorized



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                 to act on behalf of officers, directors, agents, or employees of the
                 insurer within the meaning of the Act.”

  See also Opinion No. 09-08-05 (citing Opinion No. 08-04-30 [Aug. 11, 2009] with approval).

                 3.      MY GOOD FAITH BASIS FOR REMOVING THE CASES TO
                         THIS COURT, INCLUDING NASSAU COUNTY ACTION
                         609877/2019 AND THE ACTIONS PENDING IN COUNTIES
                         LISTED BELOW.

         23.     This Court found (at p. 20) that:

                 “At the time of removal, the cases remained in the pre-trial stage in
                 Oneida County and had not been returned to their original counties
                 for trial. Thus, the Class Representatives were required to file any
                 notice of removal in the Northern District of New York, where
                 Oneida County is situated.”

         24.     Although I have been unable to locate any authority directly on point, I do now

  appreciate the Court’s position. However, as discussed below, I respectfully submit that I had

  attempted in good faith to comply with the rules governing removal.

         25.     I believed that, although the cases were consolidated for purposes of discovery in

  Oneida County, the cases remained pending in their respective counties because, among other

  things, the trials would be conducted in those counties. I respectfully submit that my belief was

  reasonable under the circumstances and there is no authority of which I am aware to the contrary.

         26.     I did not believe that all of the cases belonged in the Northern District simply

  because pre-trial coordination was taking place in Oneida County. Rather, as noted above, I

  believed that each case should be removed to the respective federal jurisdiction of the court in

  which the trial would ultimately have taken place. This seemed logical to me and, again, I was not

  aware of any contrary authority. I certainly did not intend to engage in any improper conduct.

         27.     Because I believed each case belonged in the federal jurisdiction of the respective

  trial courts, I removed the cases to the various courts as required. I did not represent any clients

  in the Northern District because I am not admitted in that Court.


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         28.     With respect to the Nassau County Action 609877/2019 in particular, at the time I

  removed that case to this Court on December 29, 2020, I also believed that case was pending in

  Nassau County (and not in Oneida County). However, I recognize that I should have obtained the

  defendants’ consent because service of the Amended Complaint had been effected by means of

  electronic filing. I offer my apologies to the Court and the parties.

         29.     Although I understand this now, at the time, I did not realize that the Amended

  Complaint effectively transformed the “plaintiffs” into the “defendants” within the meaning of 28

  U.S.C. Section 1446(b)(2)(A), which provides that, “[w]hen a civil action is removed solely under

  section 1441(a), all defendants who have been properly joined and served must join in or consent

  to the removal of the action.” (Emphasis added.) I had not realized, at that time, that by virtue of

  the Amended Complaint (which was served electronically), the plaintiffs became defendants

  (because they were named as defendants in the Amended Complaint) and I was required to obtain

  their consent. I believed, incorrectly, that they were “plaintiffs” and their consent was not required.

  Again, I offer my apologies to the Court and the parties.

         30.     Separately, I believed that removal was appropriate from Nassau County because

  the Nassau County Supreme Court granted the intervention complaint, which set forth the ERISA-

  based causes of action. I had a good faith belief that the subject of the Nassau County lawsuit

  609877/2019 was an ERISA regulated matter because it involved funds for benefits to employees

  of the putative class I represented. The Second Circuit has explained that “ERISA’s preemption

  clause is ‘conspicuous for its breadth,’ … representing Congress’ aim to establish as an area of

  ‘exclusive federal concern’ the regulation of employee benefit plans. … Consequently, the phrase

  ‘relate to’ [in the preemption clause] is to be interpreted broadly, … encompassing common law

  causes of action that ‘purport[] to provide a remedy for the violation of a right expressly guaranteed




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  by [ERISA].’” Diduck v. Kaszycki & Sons Contrs., Inc., 974 F.2d 270, 287-88 (2d Cir. 1992).

  Here, the litigation involves violations of ERISA affecting employees’ rights for benefits.

         31.     I based the removal on the original complaint, and I believed in good faith that the

  language of the statute supported by position. The plain language of the statute governing removal,

  28 U.S.C. Section 1446(b)(1), provides that the relevant pleading is the “initial pleading”:

                 “The notice of removal of a civil action or proceeding shall be filed
                 within 30 days after the receipt by the defendant, through service or
                 otherwise, of a copy of the initial pleading setting forth the claim for
                 relief upon which such action or proceeding is based….”

         32.     This provision deals with actions that are removable at the time of commencement,

  and I believed in good faith it applied to this action.

         33.     A separate provision, 28 U.S.C. Section 1446(b)(3), governs actions which become

  removable by virtue of an “amended pleading, motion, order or other paper from which it may

  first be ascertained that the case is one which is or has become removable.”

         34.     Here, as explained at page 9 of my April 23, 2021 Memorandum (see 20-cv-06291,

  Dkt. No. 40), I believed in good faith that the case was removable by virtue of the initial pleading,

  pursuant to 28 U.S.C. Section 1446(b)(1).

         35.     Moreover, as also explained at page 9 of my April 23rd Memorandum, I also

  believed in good faith that the allegations in the Amended Complaint asserted claims for relief

  related to a fund governed by ERISA and, under the broad preemption principles, permitted

  removal.

         36.     I was not aware that “voluntariness principal bars removal by parties introduced

  through intervention.” (Order, at p. 22) This Court stated that “[t]o hold otherwise would deprive

  plaintiffs of their right to decide where to bring their lawsuit.” Id. However, the doctrine of

  removal inherently deprives plaintiffs of their right to decide where to bring their lawsuit. I did



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  not believe that my request for removal was inappropriate simply because it would deprive

  plaintiffs of their chosen forum. Rather, I believed the cases deal with funds governed by ERISA

  and that, therefore, the doctrine of federal preemption merited federal court jurisdiction over these

  matters.

         37.     This Court stated (at p. 26) that: “The Healthcare Employers were original parties

  to all eighteen Removed Actions, and the Class Representatives knew or should have known the

  rules for service via e-filing on existing parties under New York law.” I respectfully submit that I

  believed in good faith that the Healthcare Employer defendants had not been served at the time I

  removed the actions. I understood that a named defendant in a lawsuit did not become a party (and

  would not be subject to e-service) until that defendant was served with process and/or appeared in

  the case. At the time I removed the eighteen Removed Actions, I believed in good faith that the

  Healthcare Employer defendants had not appeared in any of the eighteen cases and I believed that

  they had not been served with process, as explained above.

         38.     Although the Healthcare Employers appeared in the Nassau County case

  609877/2019 by virtue of being the plaintiff, the Healthcare Employers did not file a Notice of

  Appearance in the other actions (and were not the plaintiffs in those other actions). And although

  the firm of Cullen Dykman announced that it was representing the Employer and Owner

  Defendants, I believed that this was different than entering a formal appearance on behalf of a

  party in a matter.

         39.     I did not intend to violate the rules governing removal and I believed at the time

  that I was acting ethically and properly. With the benefit of hindsight, I realize I had erred, and I

  offer my apologies. I know that I should have more carefully analyzed the situation. I had never




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  before dealt with such a procedurally complicated situation involving so many moving pieces. I

  tried to navigate the situation as best as I could, but I recognize that I made errors.

         40.     I do want the Court to understand that I became aware of the challenging nature of

  the procedural issues in this case and did seek assistance in the spring of 2021. I had contacted

  Efraim Savitt, Esq., a former federal prosecutor in the Eastern District, and an experienced

  litigator, in March of 2021 to assist me in the litigations and formally retained him on April 2,

  2021, to work with me. (Mr. Savitt appeared in 20-cv-06291, 21-cv-01421 and 21-cv-01366, at

  Dkt. Nos. 18, 10 and 46, respectively.). I made motions to consolidate the 19 cases into EDNY

  cases 20-cv-06291, 21-cv-01421 and 21-cv-01366: EDNY 20-cv-06131 Docket #8, EDNY 21-cv-

  01999 Docket #7, EDNY 21-cv-1421 Docket #15, EDNY 21-cv-2006 Docket #6, EDNY 21-cv-

  2010 Docket #6, EDNY 21-cv-2021 Docket #6, EDNY 21-cv-2022 Docket #6, EDNY 21-cv-2024

  Docket #6, EDNY 21-cv-2029 Docket #7, EDNY 21-cv-2030 Docket #6, EDNY 21-cv-2035

  Docket #5, EDNY 21-cv-2039 Docket #5, EDNY 21-cv-2040 Docket# 6, EDNY 21-cv-2045

  Docket #5, EDNY 21-cv-2050 Docket #7, EDNY 21-cv-2283 Docket #12, EDNY 21-cv-2313

  Docket #43, EDNY 21-cv-2314 Docket #35, EDNY 20-cv-06291 Docket #7. I bring this to the

  Court’s attention so that the Court will understand that I was acting in good faith and I did not

  intend to violate this Court’s rules.

         41.     Finally, although the Court’s Order referenced my arrest and conviction in the

  Northern District, I respectfully submit that my conviction should not hang over my head and serve

  as a basis to doubt my credibility on all matters and for all time. I paid the price for my conduct,

  and I hope that my prior misconduct not mean that I am forever assumed to be a wrongdoer.




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